Case:19-40901-EJC Doc#:112 Filed:06/24/20 Entered:06/24/20 10:38:42                Page:1 of 2


                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION

 IN RE:                             : CHAPTER 7
                                    :
 PATRICK D MCCARTHY,                : CASE NO 19-40901-EJC
       Debtor.                      :
 --------------------------------   - --------------------------------
 THE BANK OF NEW YORK MELLON FKA :
 THE BANK OF NEW YORK, AS TRUSTEE :
 FOR THE CERTIFICATEHOLDERS OF      :
 THE CWALT, INC., ALTERNATIVE LOAN :
 TRUST 2007-HY4 MORTGAGE PASS-      :
 THROUGH CERTIFICATES, SERIES 2007- :
 HY4,                               :
                                    :
                                    :
            MOVANT,                 : CONTESTED MATTER
 v.                                 :
                                    :
 PATRICK D MCCARTHY,                :
 WENDY ANNE OWENS, Trustee,         :
             Respondents.           :
                                    :
       WITHDRAWAL OF MOTION FOR RELIEF FROM AUTOMATIC STAY

        Comes now THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW
 YORK, AS TRUSTEE FOR THE CERTIFICATEHOLDERS OF THE CWALT, INC.,
 ALTERNATIVE LOAN TRUST 2007-HY4 MORTGAGE PASS-THROUGH CERTIFICATES,
 SERIES 2007-HY4, a secured creditor of the above-named Debtor, and respectfully requests that
 the MOTION FOR RELIEF FROM THE AUTOMATIC STAY filed in the above-styled case on
 August 16, 2019 be WITHDRAWN.


 This 24th day of June, 2020
 /s/ Lisa F. Caplan
 Lisa F. Caplan
 GA State Bar No. 001304
 Rubin Lublin, LLC
 3145 Avalon Ridge Place, Suite 100
 Peachtree Corners, GA 30071
 (877) 813-0992
 lcaplan@rubinlublin.com
 Attorney for Creditor
Case:19-40901-EJC Doc#:112 Filed:06/24/20 Entered:06/24/20 10:38:42                    Page:2 of 2




                                 CERTIFICATE OF SERVICE

        I, Lisa F. Caplan of Rubin Lublin, LLC certify that I caused a copy of the foregoing to be
 filed in this proceeding by electronic means and to be served by depositing a copy of the same
 in the United States Mail in a properly addressed envelope with adequate postage thereon the
 said parties as follows:

 Gail M. McCarthy
 1418 Walthour Rd
 Savannah, GA 31410

 Patrick D McCarthy
 1418 Walthour Road
 Savannah, GA 31410

 James L. Drake, Jr., Esq.
 P. O. Box 9945
 Savannah, GA 31412

 Wendy Anne Owens, Trustee
 PO Box 8846
 Savannah, GA 31412

 United States Trustee
 Office of the U.S. Trustee
 Johnson Square Business Center
 2 East Bryan Street, Suite 725
 Savannah, GA 31401


 Executed on 6/24/20

 By: /s/ Lisa F. Caplan
 Lisa F. Caplan
 GA State Bar No. 001304
 Rubin Lublin, LLC
 3145 Avalon Ridge Place, Suite 100
 Peachtree Corners, GA 30071
 (877) 813-0992
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 Attorney for Creditor
